CaseCase  2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                  1-1 Filed108/12/22
                                              Filed 01/10/12
                                                       Page 1 Page
                                                              of 51 1Pageid#:
                                                                     of 51    2
CaseCase  2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                  1-1 Filed108/12/22
                                              Filed 01/10/12
                                                       Page 2 Page
                                                              of 51 2Pageid#:
                                                                     of 51    3
CaseCase  2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                  1-1 Filed108/12/22
                                              Filed 01/10/12
                                                       Page 3 Page
                                                              of 51 3Pageid#:
                                                                     of 51    4
CaseCase  2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                  1-1 Filed108/12/22
                                              Filed 01/10/12
                                                       Page 4 Page
                                                              of 51 4Pageid#:
                                                                     of 51    5
CaseCase  2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                  1-1 Filed108/12/22
                                              Filed 01/10/12
                                                       Page 5 Page
                                                              of 51 5Pageid#:
                                                                     of 51    6
CaseCase  2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                  1-1 Filed108/12/22
                                              Filed 01/10/12
                                                       Page 6 Page
                                                              of 51 6Pageid#:
                                                                     of 51    7
CaseCase  2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                  1-1 Filed108/12/22
                                              Filed 01/10/12
                                                       Page 7 Page
                                                              of 51 7Pageid#:
                                                                     of 51    8
CaseCase  2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                  1-1 Filed108/12/22
                                              Filed 01/10/12
                                                       Page 8 Page
                                                              of 51 8Pageid#:
                                                                     of 51    9
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12 Page
                                                      Page 9 of 51 9Pageid#:
                                                                     of 51 10
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 10Page
                                                              of 51 10Pageid#:
                                                                       of 51 11
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 11Page
                                                              of 51 11Pageid#:
                                                                       of 51 12
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 12Page
                                                              of 51 12Pageid#:
                                                                       of 51 13
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 13Page
                                                              of 51 13Pageid#:
                                                                       of 51 14
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 14Page
                                                              of 51 14Pageid#:
                                                                       of 51 15
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 15Page
                                                              of 51 15Pageid#:
                                                                       of 51 16
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 16Page
                                                              of 51 16Pageid#:
                                                                       of 51 17
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 17Page
                                                              of 51 17Pageid#:
                                                                       of 51 18
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 18Page
                                                              of 51 18Pageid#:
                                                                       of 51 19
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 19Page
                                                              of 51 19Pageid#:
                                                                       of 51 20
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 20Page
                                                              of 51 20Pageid#:
                                                                       of 51 21
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 21Page
                                                              of 51 21Pageid#:
                                                                       of 51 22
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 22Page
                                                              of 51 22Pageid#:
                                                                       of 51 23
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 23Page
                                                              of 51 23Pageid#:
                                                                       of 51 24
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 24Page
                                                              of 51 24Pageid#:
                                                                       of 51 25
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 25Page
                                                              of 51 25Pageid#:
                                                                       of 51 26
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 26Page
                                                              of 51 26Pageid#:
                                                                       of 51 27
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 27Page
                                                              of 51 27Pageid#:
                                                                       of 51 28
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 28Page
                                                              of 51 28Pageid#:
                                                                       of 51 29
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 29Page
                                                              of 51 29Pageid#:
                                                                       of 51 30
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 30Page
                                                              of 51 30Pageid#:
                                                                       of 51 31
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 31Page
                                                              of 51 31Pageid#:
                                                                       of 51 32
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 32Page
                                                              of 51 32Pageid#:
                                                                       of 51 33
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 33Page
                                                              of 51 33Pageid#:
                                                                       of 51 34
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 34Page
                                                              of 51 34Pageid#:
                                                                       of 51 35
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 35Page
                                                              of 51 35Pageid#:
                                                                       of 51 36
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 36Page
                                                              of 51 36Pageid#:
                                                                       of 51 37
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 37Page
                                                              of 51 37Pageid#:
                                                                       of 51 38
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 38Page
                                                              of 51 38Pageid#:
                                                                       of 51 39
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 39Page
                                                              of 51 39Pageid#:
                                                                       of 51 40
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 40Page
                                                              of 51 40Pageid#:
                                                                       of 51 41
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 41Page
                                                              of 51 41Pageid#:
                                                                       of 51 42
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 42Page
                                                              of 51 42Pageid#:
                                                                       of 51 43
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 43Page
                                                              of 51 43Pageid#:
                                                                       of 51 44
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 44Page
                                                              of 51 44Pageid#:
                                                                       of 51 45
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 45Page
                                                              of 51 45Pageid#:
                                                                       of 51 46
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 46Page
                                                              of 51 46Pageid#:
                                                                       of 51 47
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 47Page
                                                              of 51 47Pageid#:
                                                                       of 51 48
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 48Page
                                                              of 51 48Pageid#:
                                                                       of 51 49
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 49Page
                                                              of 51 49Pageid#:
                                                                       of 51 50
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 50Page
                                                              of 51 50Pageid#:
                                                                       of 51 51
Case Case 2:12-cr-00004-APG-EJY
     3:22-cr-00013-NKM   DocumentDocument
                                 1-1 Filed 108/12/22
                                              Filed 01/10/12
                                                      Page 51Page
                                                              of 51 51Pageid#:
                                                                       of 51 52
